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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                            COLUMBUS DIVISION


JUANITO CAMPOS,

      Plaintiff,

v.                                              Case No. 4:21-cv-90

                                                Motion to Dismiss
ALLIANCE GLOBAL GROUP, LLC.,

      Defendant.
                                       /

 DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT AND
            SUPPORTING MEMORANDUM OF LAW

      On its face, Plaintiff’s Complaint fails to state a claim on all three counts.

Plaintiff sues Defendant for alleged retaliation under Title VII, but fails to allege

that he engaged in protected activity under Title VII. Plaintiff sues Defendant for

alleged retaliation under the FLSA, but fails to allege that Defendant ever

employed him. Finally, Plaintiff sues for alleged national origin discrimination

under Title VII, but fails to allege that Defendant had actual knowledge of

Plaintiff’s national origin.

      Because Plaintiff’s Complaint fails to state a claim, Defendant, ALLIANCE

GLOBAL GROUP, LLC (“Defendant”), by counsel and pursuant to Federal Rule

of Civil Procedure 12(b)(6), files this motion to dismiss.
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                                 INTRODUCTION

      1.      Plaintiff, JUANITO CAMPOS (“Plaintiff”), filed a three-count

Complaint against Defendant.

      2.      Count I alleges that Defendant violated Title VII of the Civil Rights

Act of 1964 (“Title VII”) by refusing to hire Plaintiff in retaliation for Plaintiff’s

alleged protected activity.

      3.      Count II alleges that Defendant violated the Fair Labor Standards Act

(“FLSA”), 29 U.S.C. §215(a)(3), by refusing to hire Plaintiff in retaliation for

Plaintiff’s alleged protected activity.

      4.      Count III alleges that Defendant discriminated against Plaintiff in

violation of Title VII by refusing to hire Plaintiff based on his national origin.

      5.      The following facts are from the Complaint and are treated as true for

purposes of this motion only.

      6.      Plaintiff had worked for KBR Wyle Technological Solutions, LLC

(“KBR”) for almost eight years, when Defendant was awarded a contract to

continue the work KBR and its team, including Plaintiff, had been working on.

      7.      Defendant proposed a 10-person workforce for the contract. Because

KBR’s incumbent workforce had 11 people, one of the 11 would not be hired by

Defendant for the contract.




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        8.      Defendant’s president, Conrad Ferrer, asked representatives of KBR

to recommend which one of KBR’s eleven employees should not be hired by

Defendant.

        9.      KBR’s representatives recommended that Defendant not hire

Plaintiff, based on, according to Plaintiff, false reports that Plaintiff frequently

challenged instructions and policy changes, and had a tendency to stir up

discontent among the workforce.          Solely based on this report, and without

attempting to verify this information or obtain new information, Ferrer decided

not to hire Plaintiff.

        10.     Approximately    two    years    earlier,   and   known     to   KBR’s

representatives, Plaintiff had inquired about his weekly accrual of sick leave;

complained that KBR was not in compliance with federal mandates regarding sick

leave; and complained to the U.S. Department of Labor about the perceived

unlawful employment practice. According to Plaintiff, this episode became one of

the bases for KBR’s representatives’ retaliatory recommendation to Ferrer not to

hire Plaintiff.

                                     ARGUMENT

   I.         MOTION TO DISMISS STANDARD UNDER FED. R. CIV. P. 12(b)(6)

        If it appears from the face of the complaint that a plaintiff cannot prove a set

of facts that would entitle them to the relief sought, the court should dismiss the


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plaintiff’s claims. See Hishon v. King & Spalding, 467 U.S. 69, 73 (1984). To state a

cognizable claim, a complaint must “contain either direct or inferential allegations

respecting all the material elements necessary to sustain a recovery under some

viable legal theory.” Roe v. Aware Woman Center for Choice, Inc., 253 F.3d 678, 683

(11th Cir. 2001). While a court must accept well-pleaded factual allegations as true,

“conclusory allegations … are not entitled to an assumption of truth—legal

conclusions must be supported by factual allegations.” Randall v. Scoot, 610 F.3d

701, 709-10 (11th Cir. 2010).

   II.      PLAINTIFF CANNOT STATE A CLAIM FOR RETALIATION
            UNDER TITLE VII

         Title VII prohibits employers from retaliating against employees or job

applicants because such individuals have engaged in statutorily protected activity.

To make a prima facie case for a claim of retaliation under Title VII, “a plaintiff must

first show that (1) that [h]e engaged in statutorily protected activity, (2) that [h]e

suffered an adverse action, and (3) that the adverse action was causally related to

the protected activity.” Jefferson v. Sewon Am., Inc., 891 F.3d 911, 924 (11th Cir.

2018); Bryant v. Jones, 575 F.3d 1281, 1307-08 (11th Cir. 2009).

         To establish Plaintiff was engaged in protected activity, he must show that

he opposed a “practice made an unlawful employment practice by this subchapter,

or [that he] made a charge, testified, assisted, or participated in any manner in an

investigation, proceeding, or hearing under this subchapter.” 42 U.S.C. §2000e-

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3(a). “This subchapter” refers to Title VII. See id. “In other words, Title VII only

makes ‘retaliation’ unlawful when the alleged act of retaliation is the direct result

of a complaint about discrimination, not retaliation based on some activity or

status that is not covered by Title VII.” Fields v. Locke Lord Bissell & Liddell LLP, No.

1:07-cv-2984, 2009 U.S. Dist. LEXIS 134296, *39 (N.D. Ga. Jul. 1, 2009) (emphasis

added). “Title VII's anti-retaliation provision makes it unlawful for an employer

to discriminate against an employee because she has opposed unlawful

discrimination.” Herron-Williams v. Ala. State Univ., 805 F. App’x. 622, 631, 2020

U.S. App. LEXIS 3796, *21 (11th Cir. Feb. 7, 2020).

      Plaintiff’s Title VII retaliation claim fails because he does not allege that he

engaged in activity protected under Title VII. Plaintiff’s alleged protected activity

was his reporting of KBR’s allegedly “improper method of computing employee

accrued sick leave to the U.S. Department of Labor[.]” Cpt. ¶ 17. While Plaintiff

asserts that such opposition and reporting “are statutorily-protected activities

under Title VII,” the plain text of Title VII and the authorities interpreting it refute

Plaintiff’s position. Such reporting has nothing whatsoever to do with alleged

unlawful discrimination under Title VII, and hence was not protected opposition

under Title VII. Because Plaintiff did not engage in “protected activity” under

Title VII, Count I fails to state a prima facie case of retaliation under Title VII.




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   III.      PLAINTIFF CANNOT STATE A CLAIM FOR RETALIATION
             UNDER THE FLSA

          The Fair Labor Standards Act (“FLSA”) prohibits employers from retaliating

against or punishing employees who engage in protected activity under the FLSA.

To establish a prima facie case of retaliation under the FLSA, the Plaintiff must

show: “(1) he engaged in activity protected under the FLSA; (2) he subsequently

suffered an adverse employment action; and (3) a causal connection existed

between his protected activity and the adverse employment action.” Wolf v. Coca-

Cola Co., 200 F.3d 1337, 1342-43 (11th Cir. 2000).

          However, as a threshold matter, to state a prima facie case of retaliation under

the FLSA, a plaintiff must be a current or former employee of the defendant. See

29 U.S.C. § 215(a)(3) (prohibiting “discriminat[ion] against any employee because

such employee” has engaged in protected activity) (emphasis added). Indeed, the

statute defines an “employee” as “any individual employed by an employer.” 29

U.S.C. § 203(e)(1).       “[N]on-employee job applicants are excluded from” the

protection of the FLSA’s prohibition against retaliation. Harper v. San Luis Valley

Regional Medical Ctr., 848 F. Supp. 911 (D. Colo. Apr. 8, 1994); see also Glover v. City

of N. Charleston, 942 F. Supp. 243, 247, No. 2:96-1526, 1996 U.S. Dist. LEXIS 14867,

*9 (D. S.C. Sep. 16, 1996) (job applicants are not protected under the FLSA’s anti-

retaliation provision); Patel v. Wargo, 803 F.2d 632, 637 (11th Cir. 1986) (liability



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under the FLSA “is based on the existence of an employer-employee

relationship.”).

         Plaintiff does not (and cannot) plead that Defendant ever employed him. In

fact, he pleads the opposite: that Defendant refused to hire him.             Because

applicants cannot bring claims under the FLSA against defendants who never

employed them, Plaintiff’s claim for FLSA retaliation against Defendant fails and

must be dismissed.

   IV.      PLAINTIFF CANNOT STATE A CLAIM FOR NATIONAL ORIGIN
            DISCRIMINATION UNDER TITLE VII

         “Discrimination is about actual knowledge, and real intent, not constructive

knowledge and assumed intent.” Silvera v. Orange Cnty. Sch. Bd., 244 F.3d 1253,

1261 (11th Cir. 2011). If a decisionmaker does not have actual knowledge of an

applicant’s national origin, then the employer cannot have discriminated on the

basis of national origin. See Lubetsky v. Applied Card Sys. Inc., 296 F.3d 1301, 1305-

06 (11th Cir. 2002) (employer cannot discriminate against plaintiff based on

religion if employer does not know plaintiff’s religion).

         Here, Plaintiff does not (and cannot, consistent with Rule 11) allege that the

decisionmaker had any knowledge of the national origin of Plaintiff when

deciding not to hire Plaintiff. Because a claim for discriminatory failure to hire

requires that the decisionmaker have actual knowledge of the plaintiff’s protected

class, and Plaintiff does not (and cannot) allege that Defendant knew of Plaintiff’s

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national origin, Plaintiff cannot state a prima facie case of national origin

discrimination under Title VII. Therefore, Count III must be dismissed.

                                 CONCLUSION

      The facts alleged by Plaintiff do not support a claim of retaliation under

either Title VII or the FLSA, nor do they support a claim of discrimination under

Title VII.   Therefore, for these and all the foregoing reasons, Defendant

respectfully requests that the Court dismiss the Complaint.

      Dated this 30th day of July, 2021.



                                               Respectfully submitted,

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                            CERTIFICATE OF SERVICE

      I hereby certify that on this 30th day of July, 2021, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system, which will send a

notice of electronic filing to all counsel of record.

                                               /s/ Whitney M. DuPree
                                                     Attorney




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